                Case 1:18-cv-00594-CRC Document 15 Filed 06/05/18 Page 1 of 1



Default - Rule 55A (CO 40 Revised-4/2011 )



         UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                                    FOR THE DISTRICT OF COLUMBIA



PROCESS AND INDUSTRIAL
DEVELOPMENTS LIMITED
_________________________________________
            Plaintiff(s)
                                                                     Civil Action: 18-cv-00594-CRC
                                                                                   _______________
        v.



FEDERAL REPUBLIC OF NIGERIA et al
_________________________________________
            Defendant(s)



RE: DEFENDANTS: FEDERAL REPUBLIC OF NIGERIA and MINISTRY OF PETROLEUM RESOURCES OF THE
      FEDERAL REPUBLIC OF NIGERIA


                                               DEFAULT

        It appearing that the above-named defendant(s) failed to plead or otherwise defend this action though

duly served with summons and copy of the complaint           on          3/27/18              , and an affidavit

                                                                           June
                                                          5th day of ________________,
on behalf of the plaintiff having been filed, it is this _____                          2018 declared that
                                                                                       ______

defendant(s) is/are in default.



                                                             ANGELA D. CAESAR, Clerk
                                                           Tawana               Digitally signed by
                                                                                Tawana Davis

                                                     By:
                                                           Davis                Date: 2018.06.05
                                                                                11:27:21 -04'00'

                                                                     Deputy Clerk
